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EXHIBIT 2

Case 1:24-cv-00040-EAW-MJR Document 353-6 Filed 05/06/24 Page 2 of 3

Date User Category Entry

5/3/2024 10:34 AM SYSTEM General Email sentto yyyxx @hotmail.com - Subject: Urgent Matter Reminder
5/1/2024 2:16 PM SYSTEM ‘General Email sentto XXXXX @hotmail.com - Subject: Hazel XXXXMUrgent Matter Reminder
4/29/2024 9:05 PM SYSTEM General Email sentto xxxxxx@hotmail.com - Subject: Hazel XXXX Urgent Matter Reminder
4/97/2024 5:59 PM SYSTEM General Email sent to XXXXXXX @hormail.com - Subject: Hazel XXXX Urgent Matter Reminder
4/26/2024 12:48 AM SYSTEM General Email sent to xxxXxx @hotmail.com - Subject: Hazel XXXx Urgent Matter Reminder
4/23/2024 12:37 PM SYSTEM General Email sentto XXXXXX@hotmail.com - Subject: Hazel XXXX Urgent Matter Reminder
4/21/2024 9:30 AM SYSTEM General Emailsentto yyxxx @hotmail.com - Subject: Hazel xxxX Urgent Matter Reminder
4/19/2024 1:13 PM SYSTEM ‘General Email sentta XXXXX '@hotmail.com - Subject: Hazel XXXKUrgent Matter Reminder
4/17/2024 8:02 PM SYSTEM General Email sentto yyyyyy@hotmail.com - Subject: Hazel xxx Urgent Matter Reminder
4/15/2024 7:51 AM SYSTEM General Email sentto X%XXXXX@hotmail.com - Subject: Hazel xxXxxUrgent Matter Reminder
4/13/2024 11:44 PM SYSTEM General Email sentta XXXXXX@hatmail.com - Subject: Hazel yxxyxUrgent Matter Reminder
4/12/2024 11:13 PM SYSTEM General Emailsentto XXXXX @hotmail.com - Subject: IMPORTANT INFORMATION FROM YOUR LAW FIRM
4/12/2024 10:29 PM middleware_admin Status Bulk E-Sign changed to Important Info Email

4/11/2024 11:34 AM SYSTEM General Emailsentto XXXXX @hormail.com - Subject: Hazel yxxx Urgent Matter Reminder
4/9/2024 6:49 PM SYSTEM General Email sentta XXXXX @hatmail.com - Subject: Hazel XXXX Urgent Matter Reminder
4/9/2024 6:49 PM ccul Status Answering Machine -Luis

4/9/2024 6:49 PM cout Status Contingency Sign Up changed to Call Center attempt 1

4/9/2024 6:49 PM ccul Status Action: Call Center attempt 1

4/6/2024 6:29 PM SYSTEM General Emailsentto XXX @hotmail.com - Subject: Hazel XXX Urgent Matter Reminder
4/6/2024 2:07 AM quality.control Status Contingency Sign Up changed to To Contingency Call center

4/6/2024 2:07 AM quality.control Status Middleware Contingency changed to QC Pushed to Call Center

Date User Category Entry

5/1/2024 7:33 PM SYSTEM General Email sentto XXXXXXXX @gmail.com- Subject: Ciera XXXXXKXMrgent Matter Reminder
4/29/2024 7:22 AM SYSTEM General Email sent to XXXXXXXX@gmail.com- Subject: Ciera XXXXXXXMrgent Matter Reminder
4/27/2024 11:16 PM SYSTEM General Email sent to XXXMXMAM@ gmail.com - Subject: Ciera _xeKMNMM Urgent Matter Reminder
4/25/2024 11:05 AM SYSTEM General Email sent to XXMMMMM Gzmail.com- Subject Ciera XXXXXXXX Urgent Matter Reminder
4/23/2024 5:54 PM SYSTEM General Emailsentto  XXXXXXXMX@gmail.com - Subject: Ciera MXMMMAXX Urgent Matter Reminder
Af2 1/2024 2:47 PM SYSTEM General Email sent to XXXXXXMX G@gmail.com - Subject: Ciera yyxxxxKxx Urgent Matter Reminder
4/19/2024 9:36 PM SYSTEM General Emailsentto  KXXXXXXX Dgmail.com- Subject: Ciera XXXXXXXXYrgent Matter Reminder
4/17/2024 9:25 AM SYSTEM FlexNote The stored procedure ‘action_complete’ doesn't exist.

4/17/2024 9:25 AM SYSTEM General Email sentto XXXXKXXXX Ggmail.com- Subject: Ciera XXMXXXXX Urgent Matter Reminder
4/15/2024 9:25 AM SYSTEM General Email sent to AXXXXXXX@gmail.com - Subject: Clera XXXXXXXX Urgent Matter Reminder
4/13/2024 6:19 AM SYSTEM General Emailsentta XXXXXXXX @gmail.com - Subject: Ciera XXXXXXMX Urgent Matter Reminder
4/12/2024 11:33 PM SYSTEM General Email sent to XXXXXXMMD gmail.com - Subject: IMPORTANT INFORMATION FROM YOUR LAW FIRM

4/42/2024 10:30 PM middleware_admin Status Bulk E-Sign changed to Important Info Email

4/11/2024 1:08 PM SYSTEM General Email sentto XXXXXXXX @gmail.com - Subject: Ciera XXXXAXXXX Urgent Matter Reminder
4/9/2024 6:55 PM SYSTEM General Email sent to XXXXXXXMO gmail.com - Subject: Ciera KXXXXXXX Urgent Matter Reminder
4/9/2024 6:55 PM ccul Status voicemail -jem chan

4/9/2024 6:55 PM ccul Status Contingency Sign Up changed to Call Center attempt 1

4/9/2024 6:55 PM ccut Status Action: Call Center attempt 1

4/6/2024 10:52 PM SYSTEM General Email sent to XXXXXXXXO@ gmail.com - Subject: Ciera XxXXXXXXX Urgent Matter Reminder
4/6/2024 2:07 AM quality.control Status Contingency Sign Up changed to To Contingency Call center

4/6/2024 2:07 AM quality.control Status Middleware Contingency changed te OC Pushed to Call Center
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Date User Category Entry

5/2/2024 12:12 AM SYSTEM General Email sentto XXXXXX Whormail.com - Subject: Kimberly XXXX Urgent Matter Reminder
4/29/2024 12:01 PM SYSTEM General Email sentto %XXXXX = @hotmail.com - Subject: Kimberly XXXX Urgent Matter Reminder
4/27/2024 8:55 AM SYSTEM General Email sentto XXXXXX @hotmail.com - Subject: Kimberly XXXXUrgent Matter Reminder
4/25/2024 3:44 PM SYSTEM General Emailsentto XXXXXX @hotmail.com - Subject: Kimberly XXXX Urgent Matter Reminder
4/23/2024 3:44 PM SYSTEM General Emailsentto xxxXXXX @hotmail.com - Subject: Kimberly XXX Urgent Matter Reminder
4f21/2024 12:37 PM SYSTEM General Emailsentto XXXXXX @hotmail.com - Subject: Kimberly XXXX Urgent Matter Reminder
4/19/2024 7:26 PM SYSTEM General Emailsentto XXXXXX @hotmail.com - Subject: Kimberly XXXX Urgent Matter Reminder
4/17/2024 7:15 AM SYSTEM FlexNore The stored procedure ‘action_complete’ doesn't exist.

4/17/2024 7:15 AM SYSTEM General Email sentto XXXXXX @hotmail.com - Subject: Kimberly XXXX Urgent Matter Reminder
4/16/2024 1:23 PM j_brathwaite Status Test workflow changed to New RESET

4/16/2024 1:23 PM [Lbrathwaite Status QC DO NOT TOUCH changed to NEW RESET

4/16/2024 1:23 PM [Lbrathwaite Status Review is completed. Client is making timely payments. There is one settlement, Client should make a timely graduation.
4/16/2024 1:23 PM jLbrathwaite Status In-State Partner Workflows changed to ATTY Quarterly Review - 3rd Completed

4/16/2024 1:23 PM jLbrathwaite Status Action: ATTY- Quarterly Review - 3rd Completed

4/16/2024 1:22 PM jLbrathwaite System Quarterly / Semi Annual Review v2 has been updated.

4/15/2024 11:09 PM SYSTEM General Emailsentto XXXXXX @hotmail.com - Subject: Kimberly XXXX Urgent Matter Reminder
4/13/2024 10:58 AM SYSTEM General Email sentto XXXXXX @hotmail.com - Subject: Kimberly XXXX Urgent Matter Reminder
4/12/2024 11:33 PM SYSTEM General Email sent to XXXXXX Dhotmail.com - Subject: IMPORTANT INFORMATION FROM YOUR LAW FIRM
4/12/2024 10:30 PM middleware_admin Status Bulk E-Sign changed to Important Info Email

4/11/2024 5:47 PM SYSTEM General Email sent to XXXXXX Bhormail.com - Subject: Kimberly XXXXUrgent Matter Reminder

4/9/2024 6:20 PM SYSTEM General Email sent to XXXXXX@hormail.com - Subject: Kimberly xxxxX Urgent Matter Reminder

